 8:13-cr-00378-JFB-SMB            Doc # 11   Filed: 11/04/13   Page 1 of 1 - Page ID # 18




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:13CR378

      vs.
                                                                  ORDER
CLARENCE DENNIS,

                     Defendant.

       The court has been presented a Financial Affidavit (CJA Form 23) signed by the
above-named defendant in support of a request for appointed counsel. After a review of
the Financial Affidavit, I find that the above-named defendant is eligible for appointment
of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended
Criminal Justice Act Plan for the District of Nebraska.

IT IS ORDERED:

        The Federal Public Defender for the District of Nebraska is appointed to
represent the above named defendant in this matter. In the event that the Federal
Public Defender accepts this appointment, the Federal Public Defender shall forthwith
file an appearance in this matter. In the event the Federal Public Defender should
decline this appointment for reason of conflict or on the basis of the Criminal Justice Act
Plan, the Federal Public Defender shall forthwith provide the court with a draft
appointment order (CJA Form 20) bearing the name and other identifying information of
the CJA Panel attorney identified in accordance with the Criminal Justice Act Plan for
this district.

IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender for the District of Nebraska.

       DATED this 4th day of November, 2013.

                                             BY THE COURT:

                                             s/ Thomas D. Thalken
                                             United States Magistrate Judge
